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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


 NEAL PRESTON,
                                                            1:18-cv-01532
         Plaintiff, on behalf of himself
 and a class of similarly situated
 individuals,                                          Judge Robert M. Dow Jr.

 v.

 MIDLAND CREDIT MANAGEMENT, INC.,

            Defendant.

                           JOINT INITIAL STATUS REPORT

       Pursuant to Fed. R. Civ. P. 26(f) and this Court’s Case Management Procedures,

the Parties jointly submit the following Initial Status Report.

1.     The Nature of the Case

       A.     Parties:

 For Plaintiff                                  For Defendant
 James C. Vlahakis (Lead)                       David M. Schultz (Lead)
 Ahmad T. Sulaiman                              Jennifer Weller
 Omar T. Sulaiman                               Hinshaw and Culberston, LLP
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 jvlahakis@sulaimanlaw.com

       B.     Claims asserted: Plaintiff brings this civil action on behalf of a putative

class claiming that Defendant violated the Fair Debt Collection Practices Act, 15 U.S.C.

§ 1692, et seq. (“FDCPA”), when it sent a letter in an envelope to Plaintiff. She claims

the use of the words “TIME SENSITIVE DOCUMENT” on the envelope violates Section

1692f(8). In addition she alleges that the discount program offered in the letter violates

Section 1692e and 1692f because the she contends that the phrase “Act Now” creates


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an alleged false sense of urgency. Plaintiff also contends that the letter does not explain

how being “pre-approved for a discount program” and making one of the discounted

payment options will impact the remainder of the debt. Defendant denies that it violated

the FDCPA and denies that Plaintiff has stated a claim under the Act. Defendant also

asserts that Plaintiff’s claims may be subject to an arbitration agreement in his

cardholder agreement. Plaintiff disputes Defendant can enforce the subject arbitration

agreement.

       C.     Major legal issues: Whether the collection letter or envelope violates the

FDCPA, whether Plaintiff is required to arbitration his claims and whether Plaintiff can

satisfy the requirements of Rule 23.

       D.     Relief sought: Plaintiff seeks statutory damages as provided under the

FDCPA, 15 U.S.C. §1692k(a)(2)(A), declaratory and injunctive relief, and recoverable

costs and reasonable attorney fees as authorized by Section 1692k(a)(3) of the FDCPA.

Defendant denies Plaintiff is entitled the the damages sought and intends to seek

dismissal of Plaintiff’s claims.

2.     Jurisdiction: Plaintiff contends that the court has subject matter jurisdiction

pursuant to15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises under the

laws of the United States. Defendant states that arbitration may be the appropriate

forum for Plaintiff’s claims.

3.     Status of Service Defendant has been served and is represented by counsel.

4.     Consent to Proceed Before a United States Magistrate Judge Parties have

advised their respective Clients about the ability to proceed before a Magistrate Judge.

The Parties do not consent.

5.     Motions There no pending motions before the Court.

       A.     The parties MIDP responses are due June 4, 2018.


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      B.     Discovery Plan

             1.      The Parties anticipate discovery as to the requirements of Rule 23

and the measure of alleged damages pursuant to Section 1692k.

             2.      This case is not exempt from MIDP.

Defendant will be requesting a stay of discovery in light of its anticipated motion

to dismiss. Accordingly, the following is Plaintiff’s Proposed Discovery Schedule.

             3.      The Parties will issue written discovery on or after June 4, 2018.

             4.      Fact discovery completed by July 27, 2018.

             5.      Plaintiff to issue expert report(s) 28 days after the proposed close of

fact discovery – August 27, 2018; Defendant to issue expert report(s) 28 days thereafter

– September 27, 2018; Plaintiff’s rebuttal report(s) if any – 21 days after the service of

Defendants’ report(s); and depositions completed by November 8, 2018.

             6.      Final Supplement MIDP responses by July 13, 2018.

             7.      If no expert discovery is undertaken, dispositive motions by August

27, 2018. If discovery is undertaken, dispositive motions by December 21, 2018.

      C.     Trial

             1.      Plaintiff has demanded a jury trial.

             2.      Two days inclusive of jury selection.

7.    Status of Settlement Discussion

      A.     Plaintiff recently made a demand.

      B.     Not applicable at this time.

      C.     Plaintiff desires a settlement conference. Defendant does not request a

settlement conference at this time.




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Dated: May the 4th be With You, 2018

On behalf of Plaintiff and a class of     On behalf of Defendant
similarly situated individuals

/s/ James C. Vlahakis                        /s/ Jennifer Weller
James C. Vlahakis                            Jennifer Weller




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